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                                                                                                .
 Fill in this information to identify the case:

 United States Bankruptcy Court for____,
                                   the:

                                                                                           Ctsf ~ ?~ f< l
                                                                                                      'ni   ·E-   s, ~sdo(n;
                                                                                                    s uth r D strict ofTexas
S©-~e Yh                    District of \
                                        (State)
                                                Qx._D\~                                                      Fl LED

 Case number (If k n o w n ) : - - - - - - - - - - · Chapter _ _
                                                                                                      AUG 11 2023                  D Check if this is an
                                                                                                                                       amended filing

                                                                                                Nathan Ochsner, Clerk of Court


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (If known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1.   Debtor's name



 2.   All other names debtor used
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names




 3.   Debtor's federal Employer
      Identification Number, (EIN)
                                            \      b _C) b \ ?__ l.J L/ ~

 4.   Debtor's address                          Principal place of business                               Mailing address, if different from principal place
                                                                                                          of business


                                                Number     Street                                         Number       Street

                                         '7\\y HoT C4(IT\<=
                                                   --::-...
                                                            TR\'\-C_I:? _ _ _ _ __
                                                                    P.0. Box


                                                ~VM~L& I \                    £ie   lJ ~~4{;              ~City_ _ _ _ _Sta-te--ZIP_C_ode-


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business •

                                                County
                                                                                                          Number       Street




                                                                                                          City                        State      ZIP Code




 s. Debtor's website (URL)




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•   j
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        Debtor



                                                  ~orporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
         6.   Type of debtor
                                                      D Partnership (excluding LLP)
                                                      D Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                      A. Check one:
         7.   Describe debtor's business
                                                      D Health Care Business (as defined in 11 U.S.C. § 101 (27A))
                                                      D Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
                                                      D Railroad (as defined in 11 U.S.C. § 101(44))
                                                      D Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                                      D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                  ~one of the above


                                                      B. Check all that apply:

                                                      0 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                      0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                         § 80a-3)
                                                      0 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                                  L     -
                                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                          htt ://www.uscourts. av/four-di it-national-association-naics-code

                                                       ki._~5_.a_ T~)(\ SC?Y'lJ(ce
         s. Under which chapter of the                Check one:
              Bankruptcy Code is the
              debtor filing?                      ;s,.chapter7
                                                      0 Chapter9
                                                      0 Chapter 11. Check all that apply.
              A debtor who is a "small business
              debtor" must check the first sub-                     0 The debtor is a small business debtor as defined in 11 U.S.C. § 101(510), and its
              box. A debtor as defined in                                 aggregate noncontingent liquidated debts (excluding debts owed to insiders or
              § 1182(1) who elects to proceed                             affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
              under subchapter V of chapter 11                            recent balance sheet, statement of operations, cash-flow statement, and federal
              (whether or not the debtor is a                             income tax return or if any of these documents do not exist, follow the procedure in
              "small business debtor'') must                              11 u.s.c. § 1116(1)(6).
              check the second sub-box.                               D The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                          less than $7,500,000, and it chooses to proceed under Subchapter Vof
                                                                          Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                          statement of operations, cash-flow statement, and federal income tax return, or if
                                                                          any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                          § 1116(1)(6).

                                                                      0 A plan is being filed with this petition.
                                                                      0 Acceptances of the plan were solicited prepetition from one or more classes of
                                                                          creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                      0   The debtor is required to file periodic reports (for example, 1OK and 1OQ) with the
                                                                          Securities and Exchange Commission according to§ 13 or 15(d) of the Securities
                                                                          Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                          for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                      0 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                          12b-2.
                                                      0 Cha ter 12




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Debtor



 9. Were prior bankruptcy cases
     filed by or against the debtor
     within the last 8 years?           D Yes. District _ _ _ _ _ _ _ _ _ When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
                                                                                             MM/ DD/YYYY
     If more than 2 cases, attach a
                                                  District _ _ _ _ _ _ _ _ _ When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
     separate list.
                                                                                             MM/ DD/YYYY


 10. Are any bankruptcy cases
     pending or being filed by a
     business partner or an             D Yes. Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship
     affiliate of the debtor?                     District _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ When
                                                                                                                            MM /    DD    /YYYY
     List all cases. If more than 1,
     attach a separate list.                      Case number, if known



 11. Why is the case filed in this      Check all that apply:
     district?
                                        D Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                       ~ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 12. Does th~ debtor own or have       ~~o
     possession of any real              D Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                 D It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                 D It needs to be physically secured or protected from the weather.
                                                 D It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                 D Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                 Where is the property?___________________________
                                                                            Number          Street




                                                                            City                                           State ZIP Code


                                                 Is the property insured?
                                                 □ No
                                                 D Yes. Insurance agency _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                          Contact name

                                                          Phone




             Statistical and administrative information




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Debtor                                                                                         Case number (if known,__ _ _ _ _ _ _ _ _ _ _ __
             Name




 13. Debtor's estimation of                Check one:
     available funds                       D Funds will be available for distribution to unsecured creditors.
                                           ,z{Atter any administrative expenses are paid, no funds will be availabl~ for distribution to unsecured creditors.


                                         ~1-49                              0 1,000-5,000                               0 25,001-50,000
 14. Estimated number of                  ; ; 50-99                         0 5,001-10,000                              0 50,001-100,000
     creditors
                                           0 100-199                        0 10,001-25,000                             D More than 100,000
                                           0 200-999

                                         ~$0-$50,000                        D $1,000,001-$10 million                    D $500,000,001-$1 billion
 15. Estimated assets
                                          0 $50,001-$100,000                D $10,000,001-$50 million                   D $1,000,000,001-$10 billion
                                           0 $100,601-$500,000              D $50,000,001-$100 million                  D $10,000,000,001-$50 billion
                                           D $500,001-$1 million            D $100,000,001-$500 million                 D More than $50 billion

                                           0 $0-$50,000                     D $1,000,001-$10 million                    D $500,000,001-$1 billion
 16. Estimated liabilities
                                           0 $50,001-$100,000               D $10,000,001-$50 million                   D $1,000,000,001-$10 billion
                                          j!J $100,001-$500,000             D $50,000,001-$100 million                  D $10,000,000,001-$50 billion
                                           D $500,001-$1 million            D $100,000,001-$500 million                 D More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -       Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                 $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 11. Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                               petition.
     debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                               Executed on·   Cc{/ 0~) 20 L~
                                                              MM / DD /YYYY


                                           ~                   'o:i-M~
                                              ~ z e d representative of debtor                           Printed name




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Debtor       =
             Name - - - - - - - - - - - - - - - - - - - - - -                        Case number (if known)- - - - - - - - - - - - - - -



 18. Signature of attorney
                                                                                                Date
                                       Signature of attorney for debtor                                       MM      /DD /YYYY




                                       Printed name


                                       Firm name


                                       Number         Street


                                       City                                                           State           ZIP Code



                                       Contact phone                                                  Email address




                                       Bar number                                                     State




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